Case 2:10-cv-08888-CJB-JCW Document 85353 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM‘

MDL 2179

SECTION: J

By submitting this document, | am asserting a claim in Compiaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-expiosion injuries (“B3 Bundle”)
filed in MDL No, 2179 (10 md 2179}.

Last Name First Name Middle Name/Maiden Suffix
NGUYEN TAM | :
(BBE WIB-2334 —

Address City / State / Zip

‘INDIVIDUAL CLAt

rmploverwame TASTY CASIAN
Job Title / Description Ree PX TRAN T

*enress - SV13 ESSENLN

ayes - ___BATGN ROUGE, LA 70808

Last 4 digits of your Social Security Number | Last 4 digits of your Tax ID Number

:

COREN'G. KLITSAS KLITSAS & VERCHER, P.C.

350 WESTCOTT STE STE 570 HOUSTON, Tx 77007

793) 862-1365 KLFISAS@KV-LAW.COM

Claim filed with BP? yes 0 NO | Claim Filed with GCCF?: YES NO
| if yes, BP Claim No.: : lf yes, Claimant Identification No.:

Claim Type (Please check all that apply):

[| Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earings/Profit Loss Loss of Subsistence use of Natural Resources
| Personal injury/Death Removal and/or clean-up costs

Other:

5 This form should be filed with the U.S. District Court for the Easter District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70139, in Civil Action No.
40-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Dor. 246, CA, No, 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of thts form in C.A. No, 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179, Piaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1
The filing of this Direct Filing Short Form shall also serve In lieu of the requirement of a Plaintiff to file a Plaintiff Profile Farm.

ee
Case 2:10-cv-08888-CJB-JCW Document 85353 Filed 04/20/11 Page 2 of 3

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

MR. Neen OWNS A VIE TNAMESE/CAJUN FUSION RESTAURANT I IN BATON ROUGE,

ADDITIONALLY, THE PRICE OF GULF SEAFOOD HAS DRAMATICALLY ry DECREASED

COMPARED TO PREVIOUS YEARS. THEREFORE, HE HAS SUFFERED A LOS= IN
PROFITS/EARNINGS DUE TO THE SPILL.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

N/A

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

NIA

2

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 85353 Filed 04/20/11 Page 3 of 3

Please check the box(es} below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

(} 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

oO 4, Commercial business, business owner, operator or worker, including commercial divers, offshore gilfield service, repair and
supply, reat estate agents, and supply companies, or an employee thereof.

oO 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
oO 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

oO 8. Hotel owner and operator, vacation rental awner and agent, or all those who earn their living from the tourism industry.
{] 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

oO 19. Person who utilizes natural resources for subsistence.

CO 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundie B3)
C i. Boat captain or crew involved in the Vessels of Opportunity program.
TJ 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

CO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

0 4, Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
T] 6. Resident who lives or works in close proximity to coastal waters.

(6 = Other:

Both BP and the Gulf Coast Claim s Facility (GCCF*) are hereby authorized to release to the Defend ants in MDL
2178 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject io full copies of same being made available to bath
the Plaintiff {or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Clajeséril_opektforney Signature
LOREN G. KLITSAS

Print Name

Q[2of{t]
Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
